                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF TENNESSEE
                          AT CHATTANOOGA

UNITED STATES OF AMERICA )
                         )                    1 :24-cr- i 'L--
    v.                   )
                         )                    JUDGES McDONOUGH/STEGER
JAMES C. THOMPSON        )


                                 INFORMATION

                                   COUNT ONE

      The United States Attorney for Eastern District of Tennessee charges that, in

or about November in the year 2000, within the Eastern District of Tennessee and

elsewhere, the defendant JAMES C. THOMPSON, did knowingly transport an

individual, that is, Victim One, who had not attained the age of 18 years, in

interstate commerce, with intent that the individual engage in sexual activity for

which any person can be charged with a criminal offense, namely, Sexual Abuse in

the Second Degree, which was a criminal offense under Alabama Code§ 13A-6-

67, and Sodomy in the Second Degree, which was a criminal offense under

Alabama Code§ 13A-6-64.

      All in violation of Title 18, United States Code, Section 2423(a).




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                                  COUNT TWO

      The United States Attorney further charges that, in or about September in the

year 2000, within the Eastern District of Tennessee and elsewhere, the defendant

JAMES C. THOMPSON, did knowingly transport an individual, that is, Victim

Two, who had not attained the age of 18 years, in interstate commerce, with intent

that the individual engage in sexual activity for which any person can be charged

with a criminal offense, namely, Sexual Abuse in the Second Degree, which was a

criminal offense under Alabama Code§ 13A-6-67.

      All in violation of Title 18, United States Code, Section 2423(a).

                                 COUNT THREE

      The United States Attorney further charges that, in or about September in the

year 2000, on an occasion separate and distinct from the occasion alleged in Count

Two of this Indictment, within the Eastern District of Tennessee and elsewhere, the

defendant JAMES C. THOMPSON, did knowingly transport an individual, that is,

Victim Two, who had not attained the age of 18 years, in interstate commerce, with

intent that the individual engage in sexual activity for which any person can be

charged with a criminal offense, namely, Sexual Battery, which was a criminal

offense under Tennessee Code§ 39-13-505.

      All in violation of Title 18, United States Code, Section 2423(a).




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                                    COUNT FOUR

         The United States Attorney further charges that, in or about 1999 and 2000,

the exact date being unknown, within the Eastern District of Tennessee and

elsewhere, the defendant JAMES C. THOMPSON, did knowingly transport an

individual, that is, Victim Three, who had not attained the age of 18 years, in

interstate commerce, with intent that the individual engage in sexual activity for

which any person can be charged with a criminal offense, namely, Oral Sexual

Battery, which was a criminal offense under Louisiana Revised Statute§ 14:43.3,

and, Indecent Behavior with Juveniles, in violation of Louisiana Revised Statute§

14:81.

         All in violation of Title 18, United States Code, Section 2423(a).

                                         FRANCIS M. HAMILTON III


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